 Case 5:20-cv-00110-BQ Document 23 Filed 01/14/22               Page 1 of 18 PageID 137



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 LUBBOCK DIVISION

ANOOSH RAKHSHANDEH,                            §
         Plaintiff,                            §
                                               §
v.                                             §                       No. 5:20-CV-00110-BQ
                                               §
TEXAS TECH UNIVERSITY                          §
          Defendant.                           §


                   DEFENDANT’S 12(b)(1) & 12(b)(6) MOTION TO DISMISS
                       PLAINTIFF’S FIRST AMENDED COMPLAINT


KEN PAXTON                                         WILLIAM D. WASSDORF
Attorney General of Texas                          Assistant Attorney General
                                                   Texas Bar No. 24103022
BRENT WEBSTER                                      will.wassdorf@oag.texas.gov
First Assistant Attorney General
                                                   General Litigation Division
GRANT DORFMAN                                      P.O. Box 12548, Capitol Station
Deputy First Assistant Attorney General            Austin, Texas 78711-2548
                                                   Telephone: (512) 463-2120
SHAWN COWLES                                       Facsimile:     (512) 320-0667
Deputy Attorney General for Civil Litigation
                                                   Counsel for Defendant
THOMAS A. ALBRIGHT                                 Texas Tech University
Chief - General Litigation Division




Texas Tech University’s 12(b)(1) & 12(b)(6) Motion to Dismiss                        Page 1 of 18
     Case 5:20-cv-00110-BQ Document 23 Filed 01/14/22                                                Page 2 of 18 PageID 138



                                                     TABLE OF CONTENTS
Table of Contents ............................................................................................................................ 2
Index of Authorities ........................................................................................................................ 3
I.         Background ............................................................................................................................ 5
      A.        Tenure Process at Texas Tech University ....................................................................... 5
      B.        Dr. Rakhshandeh Withdrew his Tenure Application....................................................... 6
II.        12(B)(1) Arguments and Authorities ..................................................................................... 6
      A.        12(b)(1) Standard of Review ............................................................................................. 6
      B.        Factual Attack Analysis .................................................................................................... 7
      C.        Plaintiff Lacks Standing .................................................................................................... 8
      D.        Plaintiff’s Claims Are Not Ripe for Review ..................................................................... 9
III.       12(b)(6) Argument & Authorities ........................................................................................ 11
      A.        12(b)(6) Standard of Review .......................................................................................... 11
      B.        Title VII Analysis at the 12(b)(6) Stage.......................................................................... 12
      C.        Plaintiff fails to plead facts sufficient to support an inference of disparate treatment ... 13
           1.   Denying extension of time is not an adverse employment action .................................. 13
           2. Plaintiff failed to sufficiently allege facts to support his qualification for tenure ........... 14
           3. Plaintiff fails to allege facts supporting the reasonable inference that any adverse
           employment action was based on his protected class ........................................................... 15
      D.        Plaintiff is Not Entitled to Punitive Damages ................................................................ 16
IV. Conclusion ........................................................................................................................... 17
Certificate of Service .................................................................................................................... 18




Texas Tech University’s 12(b)(1) & 12(b)(6) Motion to Dismiss                                                                    Page 2 of 18
  Case 5:20-cv-00110-BQ Document 23 Filed 01/14/22                                              Page 3 of 18 PageID 139



                                                    INDEX OF AUTHORITIES

Cases
Alkhawaldeh v. Dow Chemical Co.,
   851 F.3d 422 (5th Cir. 2017) ..................................................................................................... 15
Ashcroft v. Iqbal,
   556 U.S. 662 (2009) ...................................................................................................... 11, 12, 16
Banks v. E. Baton Rouge Parish Sch. Bd.,
   320 F.3d 570 (5th Cir.2003) ...................................................................................................... 14
Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007) ...................................................................... 11, 12
Chhim v. Univ. of Texas at Austin,
   836 F.3d 467 (5th Cir. 2016) ..................................................................................................... 12
Cicalese v. Univ. of Texas Med. Branch,
   924 F.3d 762 (5th Cir. 2019) ..................................................................................................... 12
Coury v. Prot,
   85 F.3d 244 (5th Cir. 1996) ......................................................................................................... 7
Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc.,
   528 U.S. 167 (2000) .................................................................................................................... 8
Harold H. Huggins Realty, Inc. v. FNC, Inc.,
   634 F.3d 787 (5th Cir. 2011) ...................................................................................................... 12
Home Builders Ass’n of Miss, Inc. v. City of Madison, Miss.,
   143 F.3d 1006 (5th Cir. 1998) ...................................................................................................... 7
Howery v. Allstate Ins. Co.,
   243 F.3d 912 (5th Cir. 2001) ....................................................................................................... 7
In re Katrina Canal Breaches Litig.,
   495 F.3d 191 (5th Cir. 2007)...................................................................................................... 11
Lee v. Kansas City Southern Ry. Co.,
   574 F.3d 253 (5th Cir. 2009) ..................................................................................................... 15
Lujan v. Defs. Of Wildlife,
   504 U.S. 555 (1992) ..................................................................................................................... 8
Martin K. Eby Constr. Co. v. Dallas Area Rapid Transit,
   369 F.3d 464 (5th Cir. 2004) ..................................................................................................... 11
McCabe v. Sharrett,
   12 F.3d 1558 (11th Cir.1994)...................................................................................................... 13
McCoy v. City of Shreveport,
   492 F.3d 551 (5th Cir. 2007) ............................................................................................... 13, 14
McDonnell Douglas Corp. v. Green,
   411 U.S. 792 (1973).................................................................................................................... 12
Mortensen v. Firt Fed Sav. & Loan Ass’n,
   549 F.2d 884 (3d Cir. 1977) ......................................................................................................... 8
Nat’l Park Hospitality Ass’n v. Dep’t of Interior,
   538 U.S. 803 (2003) .................................................................................................................. 10
New Orleans Pub. Serv., Inc. v. Council of City of New Orleans,
   833 F. 2d 583 (5th Cir. 1987) ..................................................................................................... 10



Texas Tech University’s 12(b)(1) & 12(b)(6) Motion to Dismiss                                                              Page 3 of 18
  Case 5:20-cv-00110-BQ Document 23 Filed 01/14/22                                             Page 4 of 18 PageID 140



Oden v. Oktibbeha Cty., Miss.,
   246 F.3d 458 (5th Cir. 2001) ..................................................................................................... 16
Olivarez v. T-mobile USA, Inc.,
   997 F.3d 595 (5th Cir. 2021) ............................................................................................... 12, 13
Outley v. Luke & Assoc., Inc.,
   840 F.3d 212 (5th Cir. 2016) ..................................................................................................... 15
Paterson v. Wienberger,
   644 F.2d 521 (5th Cir. 1981) .................................................................................................... 7, 8
Pegram v. Honeywell, Inc.,
   361 F.3d 272 (5th Cir.2004) ...................................................................................................... 14
Pierce v. Tex. Dept. of Crim. Justice, Inst. Div.,
   37 F.3d 1146 (5th Cir.1994) ....................................................................................................... 13
Raj v. La. State Univ.,
   714 F.3d 322 (5th Cir. 2013) ...................................................................................................... 16
Ramming v. United States,
   281 F.3d 158 (5th Cir. 2001)........................................................................................................ 7
Randall D. Wolcott, M.D., P.A. v. Sebelius,
   635 F.3d 757 (5th Cir. 2011) ...................................................................................................... 11
Shields v. Norton,
   289 F. 3d 832 (5th Cir. 2002)...................................................................................................... 9
Sommers Drug Stores Co. Emp. Profit Sharing Tr. v. Corrigan,
   883 F.2d 345 (5th Cir. 1989) ....................................................................................................... 9
Stockman v. Fed. Election Comm’n,
   138 F.3d 144 (5th Cir. 1998) ........................................................................................................ 7
Swierkiewicz v. Sorema N.A.,
   534 U.S. 506 (2002) .................................................................................................................. 12
Tanik v. Southern Methodist Univ.,
   116 F.3d 775 (5th Cir. 1997)................................................................................................. 10, 13
United Transp. Union v. Foster,
   205 F.3d 851 (5th Cir. 2000) ..................................................................................................... 10
Williamson v. Tucker,
   645 F.2d 404 (5th Cir. 1981) ....................................................................................................... 7
Yul Chu v. Miss. State Univ.,
   592 F. App’x 260 (5th Cir. 2014) .............................................................................................. 14
Statutes & Constitutions
42 U.S.C. § 1981a ................................................................................................................... 16, 17
Rules
Fed. R. Civ. P. 12(b)(1).................................................................................................................. 6
Fed. R. Civ. P. 12(b)(6) ................................................................................................................ 11




Texas Tech University’s 12(b)(1) & 12(b)(6) Motion to Dismiss                                                            Page 4 of 18
 Case 5:20-cv-00110-BQ Document 23 Filed 01/14/22                   Page 5 of 18 PageID 141



                                      I. BACKGROUND

       Plaintiff, Dr. Anoosh Rakhshandeh, is a former employee of TTU. (Dkt. 20 at ¶7). Prior to

the end of his employment with TTU, Plaintiff was a tenure-track assistant professor. (Dkt. 20 at

¶9) In this suit, Plaintiff alleges that TTU violated Title VII of the Civil Rights Act of 1964 by

denying him tenure based on his national origin (Iranian) and his religion (non-Christian). (Dkt. 20

at ¶¶ 3, 10). TTU filed a Motion to Dismiss under Rules 12(b)(1) and 12(b)(6) on April 29, 2021.

(Dkt. 13). This court issued its Memorandum Opinion and Order granting the Rule 12(b)(6)

portion of TTU’s Motion to Dismiss on October 27, 2021 and allowed Plaintiff the opportunity to

amend his Complaint. (Dkt. 19 at 19). Plaintiff subsequently amended his Complaint on November

23, 2021 (Dkt. 20). TTU now files this Motion to dismiss Plaintiff’s First Amended Complaint.

   A. Tenure Process at Texas Tech University

       At all relevant times, Dr. Michael Orth was the chair of the Department of Animal Science

and it was his responsibility to oversee the faculty including evaluation of their performance and

the promotion and tenure process. (Appx.1). At TTU, tenure-track faculty have a six-year

probationary period in which to obtain tenure. (Appx.5). TTU Operating Policy 32.01 provides

the procedure by which an application for tenure is processed and considered. (Appx.3–14). The

faculty member must submit their application for tenure by the start of the sixth year of the

probationary period. (Appx.5). The tenure review process consists of eight steps over four levels

of the university. (Appx.6).

       The first level is a department level vote of the tenured faculty (Step 1) followed by a

recommendation of the department chair (Step 2). (Appx.6, 9–11). Next, at the college level, a

review and recommendation by the tenure committee (Step 3) followed by a letter of

recommendation from the dean (Step 4). (Appx.6, 11). Third, is a review by the Provost and Senior


Texas Tech University’s 12(b)(1) & 12(b)(6) Motion to Dismiss                         Page 5 of 18
 Case 5:20-cv-00110-BQ Document 23 Filed 01/14/22                   Page 6 of 18 PageID 142



Vice President (Step 5) and the Dean of the Graduate School (Step 6). (Appx.6, 11). Finally, the

President of the University reviews the application and makes a recommendation to the Board of

Regents through the Chancellor (Step 7). (Appx.6, 12). At each stage of the process up to the

President, both positive and negative recommendations proceed to the next level. (Appx.11–12).

Only the approved recommendations of the President are forwarded to the Chancellor. (Appx.12).

The action of the Board of Regents awards the faculty member tenure (Step 8). (Appx.6). Before

the end of the sixth probationary year, the candidate is notified that tenure has been awarded or

that the appointment will not be renewed at the end of the seventh year. (Appx.5).

   B. Dr. Rakhshandeh Withdrew his Tenure Application

       Dr. Rakhshandeh submitted his tenure application to Dr. Orth in August 2018 prior to the

beginning of his sixth probationary year as required by OP 32.01. (Appx.1, 5). During Step 1 of the

tenure process, the tenured faculty of the department unanimously voted against recommending

Dr. Rakhshandeh for tenure. (Appx.2, 15). On November 25, 2018, Dr. Rakhshandeh withdrew his

application for tenure. (Appx.2, 16). On December 17, 2018, Dr. Orth accepted Dr. Rakhshandeh’s

withdrawal request. (Appx.2, 19). By his withdrawal, Dr. Rakhshandeh stopped the tenure process,

none of the other steps were completed, and no decision was ever made regarding the award or

denial of Dr. Rakhshandeh’s tenure. (Appx.2). Because Dr. Rakhshandeh withdrew his application

before a decision was made and during his final probationary year, he was granted his terminal

appointment which ended on May 31, 2020. (Appx.2, 5).

                     II.   12(B)(1) ARGUMENTS AND AUTHORITIES

   A. 12(b)(1) Standard of Review

       Federal Rule 12(b)(1) governs motions to dismiss for lack of subject matter jurisdiction.

FED. R. CIV. P. 12(b)(1). “Federal courts are courts of limited jurisdiction, and absent jurisdiction


Texas Tech University’s 12(b)(1) & 12(b)(6) Motion to Dismiss                          Page 6 of 18
 Case 5:20-cv-00110-BQ Document 23 Filed 01/14/22                    Page 7 of 18 PageID 143



conferred by statute, lack the power to adjudicate claims.” Stockman v. Fed. Election Comm’n, 138

F.3d 144, 151 (5th Cir. 1998). Accordingly, “[a] case is properly dismissed for lack of subject matter

jurisdiction when the court lacks the statutory or constitutional power to adjudicate the case.”

Home Builders Ass’n of Miss, Inc. v. City of Madison, Miss., 143 F.3d 1006, 1010 (5th Cir. 1998)

(citation omitted). “The burden of proof for a Rule 12(b)(1) motion to dismiss is on the party

asserting jurisdiction.” Ramming v. United States, 281 F.3d 158, 161 (5th Cir. 2001); Howery v.

Allstate Ins. Co., 243 F.3d 912, 916 (5th Cir. 2001). “[T]here is a presumption against subject

matter jurisdiction that must be rebutted by the party bringing an action to federal court.” Coury

v. Prot, 85 F.3d 244, 248 (5th Cir. 1996).

       When a Rule 12(b)(1) motion is filed in conjunction with other Rule 12 motions, the court

should consider the Rule 12(b)(1) motion before addressing any motion as to the merits. Ramming,

281 F.3d at 161. In considering such a motion, the court may rely on: “(1) the complaint alone; (2)

the complaint supplemented by undisputed facts evidenced in the record; or (3) the complaint

supplemented by undisputed facts plus the court's resolution of disputed facts.” Id. “[T]he trial

court is free to weigh the evidence and satisfy itself as to the existence of its power to hear the

case.” Williamson v. Tucker, 645 F.2d 404, 412–13 (5th Cir. 1981).

   B. Factual Attack Analysis

       In connection with a 12(b)(1) motion challenging the court’s subject matter jurisdiction, a

defendant may make a facial or factual attack. Paterson v. Wienberger, 644 F.2d 521, 523 (5th Cir.

1981). “If a defendant makes a factual attack upon the court’s subject matter jurisdiction over the

lawsuit, the defendant submits affidavits, testimony, or other evidentiary materials.” Id. (internal

quotation marks omitted). In response, the party seeking to invoke the court’s jurisdiction must

likewise “submit facts through some evidentiary method and that the burden of proving by a


Texas Tech University’s 12(b)(1) & 12(b)(6) Motion to Dismiss                           Page 7 of 18
 Case 5:20-cv-00110-BQ Document 23 Filed 01/14/22                     Page 8 of 18 PageID 144



preponderance of the evidence that the trial court does have subject matter jurisdiction.” Id. “[N]o

presumptive truthfulness attaches to plaintiff’s allegations, and the existence of disputed material

facts will not preclude the trial court from evaluating for itself the merits of jurisdictional claims.”

Id. (quoting Mortensen v. Firt Fed Sav. & Loan Ass’n, 549 F.2d 884, 891 (3d Cir. 1977)).

     C. Plaintiff Lacks Standing

        To establish standing, a plaintiff must show: (1) an actual or imminent, concrete and

particularized “injury-in-fact”; (2) that is fairly traceable to the challenged action of the defendant;

and (3) that is likely to be redressed by a favorable decision. Friends of the Earth, Inc. v. Laidlaw

Envtl. Servs. (TOC), Inc., 528 U.S. 167, 180–81 (2000). All three elements are “an indispensable

part of the plaintiff’s case,” and that party seeking to invoke federal jurisdiction bears the burden

to        establish          them.         Lujan          v.         Defs.         Of          Wildlife,

504 U.S. 555 (1992). Here, Plaintiff has failed to bear his burden regarding the injury-in-fact or

traceability elements of standing because no action taken by TTU resulted in any injury to Plaintiff.

        Plaintiff has failed to bear his burden to establish the three elements of standing. Initially,

Plaintiff has failed to prove that he suffered an actual injury because he was never denied tenure.

According to Operating Policy 32.01(6)(b), after the review at the College level, “[i]t is the

responsibility of the dean to recommend either positively or negatively on all promotion or tenure

recommendations forwarded be department chairpersons. (Appx.11) (emphasis added). Then the

Provost and Senior Vice President must also “approve or disapprove all recommendations

received” before transmitting those dossiers and recommendations to the President. (Appx.11)

(emphasis added). Because Plaintiff’s tenure application would have proceeded beyond the college

level had the application not been withdrawn, no final tenure denial could have occurred.




Texas Tech University’s 12(b)(1) & 12(b)(6) Motion to Dismiss                             Page 8 of 18
 Case 5:20-cv-00110-BQ Document 23 Filed 01/14/22                     Page 9 of 18 PageID 145



       Additionally, assuming arguendo Plaintiff has suffered some injury, that injury is not fairly

traceable to TTU for two reasons. First, it was Dr. Rakhshandeh that withdrew his tenure

application and it is he who is responsible for TTU not reaching a final decision regarding his

tenure. (Appx.2, 16). Second, the faculty vote against awarding Dr. Rakhshandeh tenure cannot be

considered a final TTU action because Dr. Rakhshandeh withdrew his tenure application before it

could proceed to the two remaining mandatory levels of review pursuant to the tenure and

promotion process. (Appx.11). Because Dr. Rakhshandeh has failed to establish that he has

standing to bring his claims, this Court should dismiss this suit for lack of jurisdiction.

       In the Court’s opinion on Defendants Motion to Dismiss Plaintiff’s Original Complaint,

the Court stated that it “cannot conclude, based on Defendant’s evidence and Plaintiff’s

Allegations, that the tenured faculty’s unanimous vote against Plaintiff’s receipt of tenure does not

constitute a ‘final’ decision of Defendant such that the Court lacks jurisdiction to consider

Plaintiff’s Title VII claims.” However, as explained above, the recommendation of the College and

the Provost and Senior Vice President—either positive or negative—would have been forwarded

on to the next level of review. (Appx.11). Only at the level of the President, do disapproved

recommendations not move on for further review; thus, this is the first level at which a

recommendation for denial of tenure could be viewed as final. (Appx.12).

   D. Plaintiff’s Claims Are Not Ripe for Review

       Ripeness is “a constitutional prerequisite to the exercise of jurisdiction,” and may be raised

at any time by a party or the court. Shields v. Norton, 289 F. 3d 832, 835 (5th Cir. 2002); see also

Sommers Drug Stores Co. Emp. Profit Sharing Tr. v. Corrigan, 883 F.2d 345, 348 (5th Cir. 1989). The

doctrine of ripeness “separates those matters that are premature because the injury is speculative

and may never occur from those that are appropriate from judicial review. United Transp. Union v.


Texas Tech University’s 12(b)(1) & 12(b)(6) Motion to Dismiss                             Page 9 of 18
 Case 5:20-cv-00110-BQ Document 23 Filed 01/14/22                    Page 10 of 18 PageID 146



Foster, 205 F.3d 851, 857 (5th Cir. 2000). “[A] case is not ripe if further factual development is

required.” New Orleans Pub. Serv., Inc. v. Council of City of New Orleans, 833 F. 2d 583, 586 (5th

Cir. 1987). The ripeness requirement appropriately limits judicial entanglement “in abstract

disagreements about administrative policies and practices, and also [ ] protect[s] the agencies from

judicial interference until an administrative decision has been formalized and its effects felt in a

concrete way by the challenging parties.” Nat’l Park Hospitality Ass’n v. Dep’t of Interior, 538 U.S.

803, 807–08 (2003).

       Plaintiff’s claims are not ripe because no final decision was ever rendered regarding

Plaintiff’s application for tenure. In a Title VII tenure denial case such as this, “the plaintiff must

show that: (1) he belongs to a protected group, (2) he was qualified for tenure, and (3) he was denied

tenure in circumstances permitting and inference of discrimination.” Tanik v. Southern Methodist

Univ., 116 F.3d 775, 775–76 (5th Cir. 1997) (emphasis added).

       At a minimum, the first level of review that could be considered “final” is the President

because that is the first time a negative recommendation is not considered for further review.

(Appx.12). Dr. Rakhshandeh withdrew his application for tenure after only the first level of the

tenure review process and before a final determination regarding his tenure application. (Appx.2,

9–12). Had he not withdrawn his application, it would have been forwarded to the Provost and

Senior Vice President as well as the President regardless of the recommendations of the lower

levels of review. (Appx.11–12). Because Dr. Rakhshandeh withdrew from consideration before

TTU made a final decision, “the injury is speculative” and “further factual development [was]

required” before Dr. Rakhshandeh’s claims could be evaluated. United Transp. Union, 205 F.3d at

857; New Orleans Pub. Serv., Inc., 833 F. 2d at 586. Specifically, TTU would have had to have been




Texas Tech University’s 12(b)(1) & 12(b)(6) Motion to Dismiss                           Page 10 of 18
 Case 5:20-cv-00110-BQ Document 23 Filed 01/14/22                    Page 11 of 18 PageID 147



allowed to complete the tenure review process. Therefore, Dr. Rakhshandeh’s claims are not ripe

for review and should be dismissed for lack of jurisdiction.

                       III.    12(B)(6) ARGUMENT & AUTHORITIES

    A. 12(b)(6) Standard of Review

        A complaint must be dismissed if the plaintiff fails to state a claim upon which relief may

be granted. Fed. R. Civ. P. 12(b)(6). In analyzing a motion to dismiss under Rule 12(b)(6), the

Court accepts all well-pleaded facts as true, viewing them in the light most favorable to the plaintiff.

Martin K. Eby Constr. Co. v. Dallas Area Rapid Transit, 369 F.3d 464, 467 (5th Cir. 2004). “To

survive a Rule 12(b)(6) motion, the plaintiff must plead ‘enough facts to state a claim to relief that

is plausible on its face.’” In re Katrina Canal Breaches Litig., 495 F.3d 191, 205 (5th Cir. 2007)

(quoting               Bell              Atl.              Corp.              v.              Twombly,

550 U.S. 544 (2007)). In considering whether this standard is met, however, a court is not bound

to accept as true a legal conclusion couched as a factual allegation. Randall D. Wolcott, M.D., P.A.

v. Sebelius, 635 F.3d 757, 763 (5th Cir. 2011) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)).

A plaintiff’s obligation to demonstrate his entitlement to relief requires more than mere conclusory

statements. Twombly, 550 U.S. at 555. Rather, a plaintiff must plead facts with enough specificity

“to raise a right to relief above the speculative level.” Id.

        “A claim has facial plausibility when the plaintiff pleads factual content that allows the

court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”

Iqbal, 556 U.S. at 678. “The plausibility standard is not akin to a ‘probability requirement,’ but it

asks for more than a sheer possibility that a defendant has acted unlawfully.” Id. “A claim for relief

is implausible on its face when ‘the well-pleaded facts do not permit the court to infer more than

the mere possibility of misconduct.’” Harold H. Huggins Realty, Inc. v. FNC, Inc., 634 F.3d 787,


Texas Tech University’s 12(b)(1) & 12(b)(6) Motion to Dismiss                            Page 11 of 18
 Case 5:20-cv-00110-BQ Document 23 Filed 01/14/22                    Page 12 of 18 PageID 148



796 (5th Cir. 2011) (quoting Iqbal, 556 U.S. at 679). Although a court accepts all well-pleaded facts

as true, “the tenet that a court must accept as true all of the allegations contained in a complaint is

inapplicable to legal conclusions.” Iqbal, 556 U.S. at 678. A plaintiff must allege more than “‘labels

and conclusions’ or a ‘formulaic recitation of the elements of a cause of action.’” Id. (quoting

Twombly, 550 U.S. at 555). “Threadbare recitals of the elements of a cause of action, supported by

mere conclusory statements, do not suffice.” Id. (citation omitted).

B.     Title VII Analysis at the 12(b)(6) Stage

       “At the Rule 12(b)(6) stage, [the Court’s] analysis of the Title VII claim is governed by

Swierkiewicz v. Sorema N.A., 534 U.S. 506 (2002)—and not the evidentiary standard set forth in

McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973).” Olivarez v. T-mobile USA, Inc., 997 F.3d

595, 599 (5th Cir. 2021). “There are two ultimate elements a plaintiff must plead to support a

disparate treatment claim under Title VII: (1) an adverse employment action, (2) taken against a

plaintiff because of her protected status.” Cicalese v. Univ. of Texas Med. Branch, 924 F.3d 762, 767

(5th Cir. 2019) (quotations omitted).

       “Although [a plaintiff does] not have to submit evidence to establish a prima facie case of

discrimination [under McDonnell Douglas] at this stage, he [must] plead sufficient facts on all of

the ultimate elements of a disparate treatment claim to make his case plausible.” Chhim v. Univ. of

Texas at Austin, 836 F.3d 467, 470 (5th Cir. 2016). When a Title VII disparate treatment

discrimination claim depends on circumstantial evidence, the plaintiff “will ‘ultimately have to

show’ that he can satisfy the McDonnell Douglas framework.” Cicalese, 924 F.3d at 767 (quoting

Chhim, 836 F.3d at 470). “In such cases, . . . it can be ‘helpful to reference’ that framework when

the court is determining whether a plaintiff has plausibly alleged the ultimate elements of the

disparate treatment claim.” Id. (quoting Chhim, 836 F.3d at 470).


Texas Tech University’s 12(b)(1) & 12(b)(6) Motion to Dismiss                           Page 12 of 18
 Case 5:20-cv-00110-BQ Document 23 Filed 01/14/22                    Page 13 of 18 PageID 149



        “Accordingly, when a complaint purports to allege a case of circumstantial evidence of

discrimination, it may be helpful to refer to McDonnell Douglas to understand whether a plaintiff

has sufficiently pleaded an adverse employment action taken ‘because of’ his protected status as

required under Swierkiewicz.” Olivarez, 997 F.3d at 600. In Olivarez, for example, the Fifth Circuit

held that when the plaintiff “failed to plead any facts indicating less favorable treatment than others

‘similarly situated’ outside of the asserted protected class” and did not allege any “other facts

sufficient to nudge the claims across the line from conceivable to plausible,” the plaintiff failed to

state a claim for discrimination under Title VII. Id.

C.      Plaintiff fails to plead facts sufficient to support an inference of disparate treatment

        “To establish a prima facie case in the context of a denial of tenure, the plaintiff must show

that: (1) he belongs to a protected group, (2) he was qualified for tenure, and (3) he was denied

tenure in circumstances permitting an inference of discrimination.” Tanik, 116 F.3d at 775–76.

While tenure decisions are not exempt from judicial scrutiny, tenure decisions in colleges and

universities involve considerations that set them apart from other kinds of employment. Id. at 776.

     1. Denying extension of time is not an adverse employment action

        Adverse employment actions in the discrimination context “include only ultimate

employment decisions such as hiring, granting leave, discharging, promoting, or compensating.”

McCoy v. City of Shreveport, 492 F.3d 551, 559–60 (5th Cir. 2007). “Adverse employment actions

are discharges, demotions, refusals to hire, refusals to promote, and reprimands.” Pierce v. Tex.

Dept. of Crim. Justice, Inst. Div., 37 F.3d 1146, 1149 (5th Cir.1994) (citing McCabe v. Sharrett, 12

F.3d 1558, 1563 (11th Cir.1994)). “[A]n employment action that ‘does not affect job duties,

compensation, or benefits' is not an adverse employment action.” Pegram v. Honeywell, Inc., 361




Texas Tech University’s 12(b)(1) & 12(b)(6) Motion to Dismiss                           Page 13 of 18
 Case 5:20-cv-00110-BQ Document 23 Filed 01/14/22                   Page 14 of 18 PageID 150



F.3d 272, 282 (5th Cir.2004) (quoting Banks v. E. Baton Rouge Parish Sch. Bd., 320 F.3d 570, 575

(5th Cir.2003)).

       Here, Plaintiff appears to allege two distinct adverse employment actions: (1) the denial of

his tenure and (2) the denial of his request for an extension to submit his tenure application. (Dkt.

20 at ¶10). TTU does not dispute that the denial of tenure could constitute an adverse employment

action, however, the denial of the extension request is not an adverse employment action because

it does not constitute an “ultimate employment decision” under the law. See McCoy, 492 F.3d at

559–60. Therefore, Plaintiff’s discrimination claim based on the denial of his request for an

extension of time to submit his tenure application should be dismissed.

   2. Plaintiff failed to sufficiently allege facts to support his qualification for tenure

       “Evidence that supports a prima facie case [for discriminatory tenure denial] includes

departures from university procedures, conventional evidence of bias against the plaintiff, and

evidence that ‘the plaintiff is found to be qualified for tenure by some significant portion of the

departmental faculty, referrants, or other scholars in the particular field.’” Yul Chu v. Miss. State

Univ., 592 F. App’x 260, 265 (5th Cir. 2014). Plaintiff fails to demonstrate that he was qualified

for tenure under this standard. Plaintiff does not allege any facts that would support the reasonable

inference that TTU departed from university procedures or that any department faculty or other

scholars in the field believed him qualified for tenure. (Dkt. 20 at pp.4–5).

       The Fifth Circuit recognizes that “[u]niversity tenure decisions represent a distinct kind

of employment action, involving special considerations.” Id. Plaintiff attempts to avoid these

special considerations—the subjective approval of his peers—by pointing to his efforts in teaching

and research. (Dkt. 20 at pp. 4–5). However, these mere conclusory allegations fall short. While

Plaintiff alleges he taught classes, mentored students, conducted research, and published articles,


Texas Tech University’s 12(b)(1) & 12(b)(6) Motion to Dismiss                          Page 14 of 18
 Case 5:20-cv-00110-BQ Document 23 Filed 01/14/22                   Page 15 of 18 PageID 151



his conclusions that each of those efforts exceeded TTU’s requirements for tenure are

unsupported by well pleaded facts. (Dkt. 20 at pp. 4–5). Plaintiff’s own allegations reflect that he

had not completed the necessary requirements for tenure. Plaintiff requested an extension of the

time to submit his tenure application “so existing manuscripts could be finalized and published.”

(Dkt. 20 at ¶10, p. 6). However, if Plaintiff had indeed met the tenure requirements, no extension

would have been needed. Because Plaintiff’s allegations supporting his qualification for tenure are

conclusory, and Plaintiff’s own actions indicate that he was not qualified, Plaintiff has failed to

allege facts which support the reasonable inference that Plaintiff was qualified for tenure. Plaintiff

has, therefore, failed to state a claim for discrimination and this Court should dismiss Plaintiff’s

suit.

    3. Plaintiff fails to allege facts supporting the reasonable inference that any adverse
       employment action was based on his protected class

        To support the reasonable inference that any adverse employment action was based on

membership in a protected class, a Title VII claimant must identify “at least one coworker outside

of his protected class who was treated more favorably ‘under nearly identical circumstances’”

Alkhawaldeh v. Dow Chemical Co., 851 F.3d 422, 426 (5th Cir. 2017) (quoting Lee v. Kansas City

Southern Ry. Co., 574 F.3d 253, 259 (5th Cir. 2009)). To be a proper comparator, “‘the employees

being compared [must have] held the same job or responsibilities, shared the same supervisor or

had their employment status determined by the same person, and have essentially comparable

violation histories.’” Outley v. Luke & Assoc., Inc., 840 F.3d 212, 217–18 (5th Cir. 2016) (quoting

Lee, 574 F.3d at 260).

        In his pleadings, Plaintiff fails to identify any comparator, which is fatal to his claim.

Without identifying a comparator, Plaintiff’s pleadings do not support the reasonable inference



Texas Tech University’s 12(b)(1) & 12(b)(6) Motion to Dismiss                          Page 15 of 18
 Case 5:20-cv-00110-BQ Document 23 Filed 01/14/22                       Page 16 of 18 PageID 152



that an employment action—whether adverse or otherwise—was based on discriminatory intent.

See Raj v. La. State Univ., 714 F.3d 322, 330–31 (5th Cir. 2013) (affirming Rule 12(b)(6) dismissal

where plaintiff “did not allege any facts, direct or circumstantial, that would suggest [defendant]'s

actions were based on [plaintiff]'s race or national origin or that [defendant] treated similarly

situated employees of other races or national origin more favorably”). Plaintiff has not identified

any comparators by name, title, responsibilities, or supervisor. All plaintiff has done is make the

conclusory assertion—not entitled to any deference—that similarly situated individuals were

treated more favorably. See Iqbal, 556 U.S. at 678 (holding that conclusory statements and

threadbare recitation of the elements of a claim are not sufficient at the 12(b)(6) stage). Plaintiff

has therefore failed to tie the denial of his tenure to either his national origin or religion. Plaintiff’s

conclusory allegations are insufficient to support the reasonable inference of discrimination, and

thus should be dismissed. See Raj, 714 F.3d at 331.

D.      Plaintiff is Not Entitled to Punitive Damages

        Plaintiff also alleges that he is entitled to “liquidated/punitive damages.” (Dkt. 20 at ¶17).

But the law does not authorize plaintiffs to recover these damages against government agencies,

and the Court should dismiss any claim for such damages.

        Ordinarily, in an action for intentional discrimination under Title VII, the plaintiff may

recovery punitive damages. 42 U.S.C. § 1981a(a)(1). The [Civil Rights] Act allows plaintiffs

asserting a Title VII claim to recover compensatory and punitive damages, provided that recovery

is unavailable under §1981.” Oden v. Oktibbeha Cty., Miss., 246 F.3d 458, 465–66 (5th Cir. 2001).

However, “[t]he Act precludes plaintiffs from recovering punitive damages against governments,

government agencies, and political subdivisions.” Id.; see also 42 U.S.C. § 1981a(b)(1) (exempting

“a government, government agency or political subdivision”). Therefore, because TTU is a state


Texas Tech University’s 12(b)(1) & 12(b)(6) Motion to Dismiss                              Page 16 of 18
 Case 5:20-cv-00110-BQ Document 23 Filed 01/14/22                   Page 17 of 18 PageID 153



university (Dkt. 20 at ¶2), Plaintiff is not entitled to punitive damages and the Court should dismiss

those claims.

                                        IV.   CONCLUSION

        For these reasons, Texas Tech University respectfully requests that this Court DISMISS

Plaintiff’s claims in their entirety.




Texas Tech University’s 12(b)(1) & 12(b)(6) Motion to Dismiss                          Page 17 of 18
 Case 5:20-cv-00110-BQ Document 23 Filed 01/14/22                Page 18 of 18 PageID 154



                                            Respectfully submitted.

                                            KEN PAXTON
                                            Attorney General of Texas

                                            BRENT WEBSTER
                                            First Assistant Attorney General

                                            GRANT DORFMAN
                                            Deputy First Assistant Attorney General

                                            SHAWN COWLES
                                            Deputy Attorney General for Civil Litigation

                                            THOMAS A. ALBRIGHT
                                            Chief - General Litigation Division

                                            /s/ William D. Wassdorf
                                            WILLIAM D. WASSDORF
                                            Texas Bar No. 24103022
                                            Assistant Attorney General
                                            General Litigation Division
                                            P.O. Box 12548, Capitol Station
                                            Austin, Texas 78711-2548
                                            (512) 463-2120 | FAX: (512) 320-0667
                                            will.wassdorf@oag.texas.gov
                                            Counsel for Defendant
                                            Texas Tech University

                              CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing instrument has been sent by
electronic notification through ECF, on January 14, 2022 to:

J. Craig Johnston
JOHNSTON & MILLER
1212 13th Street, Ste. 101
Lubbock, Texas 79401
jcraig@nts-online.net
Counsel for Plaintiff
                                            /s/ William D. Wassdorf
                                            WILLIAM D. WASSDORF
                                            Assistant Attorney General



Texas Tech University’s 12(b)(1) & 12(b)(6) Motion to Dismiss                      Page 18 of 18
